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1                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA
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4       UNITED STATES OF AMERICA,             Criminal No.:    0:07-cr-00315

5                        Plaintiff,                        TRANSCRIPT

6                 vs.                                          OF

7       TYRONE SHADALE OAKS,                               PROCEEDINGS

8                        Defendant.                    (MOTIONS HEARING)

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12                      The above-entitled matter came on for hearing

13      before Judge Michael J. Davis, on February 15th, 2008, at the

14      United States District Courthouse, 300 South Fourth Street,

15      Minneapolis, Minnesota 55415, commencing at         approximately

16      9:35 a.m.

17

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19                                               CALIFORNIA CSR NO.:      8674

20                                           ILLINOIS CSR NO.:      084-004202

21                                                IOWA CSR NO.:     495

22                                               RMR NO.:     065111

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1                                      APPEARANCES

2                       OFFICE OF THE UNITED STATES ATTORNEY, 300 South

3       Fourth Street, Suite 600, Minneapolis, Minnesota 55415, by

4       ERIKA R. MOZANGUE, Assistant United States Attorney, appeared

5       as counsel on behalf of Plaintiff.

6                       LAW OFFICES OF THOMAS H. SHIAH, 247 Third

7       Avenue South, Minneapolis, Minnesota 55415, by THOMAS H.

8       SHIAH, Attorney at Law, appeared as counsel on behalf of

9       Defendant.

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1                       THE COURT:    Call this matter.

2                       CALENDAR CLERK:     United States of America

3       versus Tyrone Shadale Oaks, Criminal Case Number 07-cr-315.

4                       Counsel, please state your appearances for the

5       record.

6                       MS. MOZANGUE:    Erika Mozangue appearing for the

7       United States.

8                       THE COURT:    Good morning.

9                       MS. MOZANGUE:    Good morning.

10                      MR. SHIAH:    Good morning, your Honor.        Tom

11      Shiah on behalf of Mr. Oaks, who is obviously seated next to

12      me.

13                      THE COURT:    Good morning.

14                      THE DEFENDANT:    Good morning, sir.

15                      THE COURT:    All right.    Mr. Shiah, bring your

16      motion.

17                      MR. SHIAH:    First off, your Honor, thank you

18      for taking this on short notice.       You know that I called the

19      Court yesterday.    This is a matter that's important to us, so

20      I have filed a motion, which is pretty straightforward and

21      pretty short.    What we are requesting at this juncture, given

22      the fact that trial is scheduled for Monday, February 25th,

23      is disclosure of Jencks material.       The material that I'm

24      talking about specifically are statements of government

25      witnesses.   In this particular case, it's my understanding
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1       there are at least four people involved, two of whom were

2       with Mr. Oaks on the night of his arrest.        These are people

3       we have not been able to find and/or talk to.         My

4       investigator is here and she can verify that.         But as an

5       officer of the court, we've been trying to locate them for a

6       month and we have not been successful.        The other two I'd put

7       in the category of jailhouse witnesses.        I don't know who

8       they are -- I mean, I know who they are now, they're listed

9       on the witness list -- and those people supposedly have

10      statements about my client.      Now, as I told you yesterday

11      informally -- and I'll repeat it for the record today -- we

12      were working together, Ms. Mozangue and myself, in the course

13      of trial preparation.     We had an informal understanding that

14      I would receive the Jencks material, I believe, Wednesday of

15      this week, which would be February 13th.        I got back in town

16      that night, it had not arrived in my office yet.           I had an

17      opportunity to speak with her yesterday, which would be the

18      14th, and I was advised then, for the first time, that she

19      had concerns about turning over this material at this

20      juncture.   She did recognize that she told me it was coming,

21      but like everybody else, she's entitled to change her mind.

22      She said that she had concerns, and I believe the concerns

23      are safety for these particular individuals.         It had nothing

24      to do with the merits of the particular case.         It was just a

25      question -- she said, "I don't want to turn this over because
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1       I have security issues."      There is this security concern that

2       has permeated my representation of Mr. Oaks.         All we have

3       heard are anecdotal statements about things that are

4       supposedly out there -- about possible threats, about

5       possible security things.      I have not seen anything in

6       writing.   I have not seen any other evidence.        It's just

7       people telling me, "Look, we have concerns."         In effect --

8       not in effect -- in actuality, he was actually put in deep

9       segregation at the Sherburne County facility.         I know some of

10      these issues were investigated by the Marshal's office.           As I

11      said, I've been in contact with Mr. Steve -- I believe it's

12      Swensen -- about this.     They conducted an investigation.        No

13      charges have been brought.      He was back in general

14      population, where he sits today.       So my understanding, at

15      least at this juncture, if there had been some concerns, they

16      have been investigated and it's been resolved.         So I'm not

17      sure what the government's talking about.        Now, I went back

18      and looked at the law; sometimes that's a good thing,

19      sometimes that's a bad thing, especially when you deal with

20      Jencks, which is what we are.       I believe it's 18 USC 3500.

21      And I have to say that I think I am moving upstream in terms

22      of my request for early disclosure.       I read the cases last

23      night.   I mean, it says point blank -- kind of like the old

24      days -- and I tried to explain this to Mr. Oaks -- that push

25      comes to shove, I'm not even entitled to it until after the
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1       person leaves the box, if we really push it to the last -- I

2       guess the nth degree.     So I'm not going to say that I have a

3       strong legal basis in the Jencks case for early disclosure,

4       except for one thing.     If the --

5                       THE COURT:    You have no basis.

6                       MR. SHIAH:    Well, I still think I have a bit of

7       a case, especially where there's going to be prejudice.        If,

8       in fact -- when she decides she wants to disclose it -- which

9       I believe is now three days before trial -- that we may be

10      prejudiced.    And the problem is we can't find these people.

11      We cannot find these people.      So we're not at an advantage

12      where we can go out and interview them and talk to them.

13      They have this information.      They said they were going to

14      give it to me.    I'm getting ready to go to trial and now they

15      say they don't want to give it to me.        So I guess what I'm --

16      I wanted you to expedite it.      And I think what they've agreed

17      to, if I read their papers correctly, is they're willing to

18      give it to me Friday.     I'm assuming that would be Friday of

19      next week, which would be the 21st (sic).        I'd like to get it

20      earlier.   Because I anticipate, once I get it, I may have to

21      ask for a continuance.     That's the last thing I put in my

22      motion.

23                      THE COURT:    All right.    Thank you.

24                      MS. MOZANGUE:    Your Honor, the government does

25      oppose Mr. Shiah's motion, to the extent that it seeks
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1       immediate disclosure of Jencks material.        The basis for our

2       motion -- we had four bases for opposing that motion.          First

3       of all, there was never a formal motion made for Jencks

4       material.   This case was initially handled by Manny Atwal of

5       the public defender's office.       We went through a motions

6       hearing, we went through a submission of motions.          She never

7       filed a Jencks motion.     I did speak to Mr. Shiah, as he

8       represented to the Court.      He inquired as to Jencks material.

9       I did say to him that I would provide to him the Jencks

10      material.   After I spoke to him, I went back and looked at

11      the file.   I realized that the statements I thought he was

12      referring to had already been given to him.         After that

13      conversation, my investigator went out and located additional

14      witnesses on this case who expressed to my investigator that

15      they are quite fearful of coming into court and having to

16      testify against the defendant.       And, so, for those reasons, I

17      then told Mr. Shiah that I had great concerns about releasing

18      the additional Jencks material.       Moreover, your Honor, there

19      is no rule of law that would obligate the government to turn

20      over Jencks material -- under Rule 26.2 of the Criminal

21      Procedure, we are not obligated to turn over Jencks material

22      until after the witness has testified.

23                      I have represented to the Court previously that

24      I had reason to believe that this defendant has made threats

25      against both government witnesses in this case to do them
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1       harm, as well as other interested parties in this case.         And

2       for those reasons, the government feels strongly that there

3       is a security issue in this case.       And for the protection of

4       the government witnesses, as well as other interested

5       parties, we do not wish to disclose those Jencks materials at

6       this time.

7                       I've also been informed that the defendant is

8       now in the general population at the Sherburne County Jail.

9       I've also been informed that he has phone privileges.          And

10      with that said, we feel that if he wants to again try to

11      threaten one of the witnesses or try to communicate to

12      someone to do something to one of those witnesses, he now has

13      the capability to do these things.       And, so, we feel strongly

14      that he does pose a threat to do harm to government witnesses

15      in this case.

16                      Whatever ruling the Court makes in this case,

17      we would ask that the defense also be given the same ruling.

18      I've received their witness list and they have three

19      witnesses on their witness list who I have not received any

20      type of Jencks materials from them.       We are requesting that

21      we be given the three days to -- three days prior to trial to

22      turn over our Jencks material to the defense counsel and we

23      would ask that the Court assign them the same order.

24                      MR. SHIAH:    Judge, can I just add one thing --

25      and this has to do with the legal argument -- this has to do
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1       with that point about not requesting the information.          I went

2       back and looked at the pretrial motion.        And we have

3       requested statements, there was a generic request for

4       co-defendants, unindicted coconspirators.        And in this

5       particular case, at least as it relates to one individual,

6       Lisa Broadway, she was one of the individuals that was

7       arrested that night, when all four of these people were

8       starting out as a probable cause narcotics case.          So to the

9       extent that there's a statement there of an unindicted

10      coconspirator or an unindicted defendant, I think that I

11      should be entitled to that, at a minimum.

12                      MS. MOZANGUE:    Your Honor, for the record, as

13      of yet, we do not have a statement from Lisa Broadway.

14                      MR. SHIAH:    Well, okay.

15                      THE COURT:    All right.    Anything further from

16      the government?

17                      MS. MOZANGUE:    No, your Honor.     Thank you.

18                      MR. SHIAH:    Your Honor, my client wants to

19      just -- excuse me one second, Judge.

20                      My client wanted me to point out that with

21      respect to confidentiality, he knows who these people are and

22      we're comfortable telling the Court that.        It's not a

23      surprise.   We have a witness list.      And he's not threatened

24      anybody, nor does he intend to.       So it's not a question of

25      all of a sudden you're going to give us something and now we
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1       have the Holy Grail of the identification.         All we want is

2       the substance of what they said so we can prepare for trial.

3                       THE COURT:    Okay.   All right.    The government

4       has submitted to the Court that they will be giving the

5       Jencks material to -- before I do my ruling here, Mr. Shiah,

6       do you want to be heard on turning over your material to the

7       government?

8                       MR. SHIAH:    I'll abide by the three days.

9                       THE COURT:    All right.    The government has

10      agreed to submit to the Court by -- in answer to defendant's

11      pretrial motion, that they will turn over the Jencks material

12      three days before trial so as not to delay any progress of

13      the trial, so long as the defendant agrees to do the same.

14      The defendant has, on the record, agreed to do the same.          So

15      the Court will order that both the government and the defense

16      three days prior to trial turn over the Jencks material of

17      their witnesses to each other.        And that we will have a trial

18      on the date that has been set.        Anything further?    And,

19      Mr. Shiah, whether or not the Jencks material is turned over

20      to you -- cutting to your argument, you know who the

21      witnesses are.     You've told me that your client knows who

22      they are.    So whether or not you have the Jencks material or

23      not, whether or not you find them or not, is not going to

24      cause this Court to continue the trial.

25                      MR. SHIAH:    If the government --
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1                       THE COURT:    You've just told me that there's no

2       surprises.

3                       MR. SHIAH:    No.   There's definitely --

4                       THE COURT:    You said there's no surprises that

5       -- what they may say and you agree with that.

6                       MR. SHIAH:    Well, that's the surprise.        The

7       identity is not the issue, it's what these people are going

8       to say.   And if we can't find them to talk to them --

9                       THE COURT:    That's not a surprise, either.

10                      MR. SHIAH:    I'll accept that.     The one thing --

11      as long as we're here today, Judge, what I'm extremely

12      concerned about -- I mean, just kind of like a heads up --

13      I'm assuming that when we come back on the 25th for trial --

14      and this is not in the way of a motion -- it probably will be

15      a motion in limine -- I'm not going to have to deal with

16      these threat issues in the course of the trial.          Because if

17      that's the case, and if the government intends in any manner,

18      shape or form to get into any possible threats of my client

19      relating to government witnesses, government personnel or

20      anything -- if it's part of the case, then I need to see what

21      it is they have.     Because right now, I have nothing.         So I

22      just want to put that on the table.        I'm assuming that's not

23      going to be part of the case we're trying, which is a felon

24      in possession of a firearm.

25                      THE COURT:    Well, as far as I know, this is a
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1       felon in possession of a firearm case.

2                       MR. SHIAH:    Fair enough.

3                       THE COURT:    All right.    Anything further?

4                       MR. SHIAH:    No, sir.

5                       MS. MOZANGUE:     Not from the government, your

6       Honor.

7                       THE COURT:    All right.    Thank you.

8                       CALENDAR CLERK:     All rise.

9                       (Court stood in recess at approximately 9:45

10      a.m., on February 15th, 2008).

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1       STATE OF MINNESOTA)

2                                      )ss.

3       COUNTY OF HENNEPIN)

4

5              I, Ronald J. Moen, CSR, RMR, and a Notary Public in
        and for the County of Hennepin, in the State of Minnesota, do
6       hereby certify:

               That the said proceeding was taken before me as a CSR,
7       RMR, and a Notary Public at the said time and place and was
        taken down in shorthand writing by me;
8
               That said proceeding was thereafter under my direction
9       transcribed into computer-assisted transcription, and that
        the foregoing transcript constitutes a full, true and correct
10      report of the transcript of proceedings which then and there
        took place;

11              That I am a disinterested third person to the said

12      action;

13             That the cost of the original has been charged to the
        party who ordered the transcript of proceedings, and that all
14      parties who ordered copies have been charged at the same rate
        for such copies.
15
                That I reported pages 1 through 13.
16
               IN WITNESS THEREOF, I have hereto subscribed my hand
17      this 2nd day of June, 2009.

18

19                                    s/Ronald J. Moen
                                      RONALD J. MOEN,
20                                    CSR, RMR

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